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                               UNITED STATES DISTRICT COURT
                                                                                 CLOSEP
                                  DISTRICT OF NEW JERSEY


 MACIEJ GORSKI, individually and on                 Civil Action No. 2:]7-cv-01092-ES-MAH
 behalf of all other persons similarly situated
 who were employed by NJ NEC, Inc. and/or                                                              :.
 any other entities affiliated with or controlled
 by NJ NEC, INC.,

                          Plaintiffs,

        -    against—

 NJ NEC, INC., DARIUSZ CZYZEWSKI,
 JOHN DOES 1-5 and JANE DOES 1-5,

                          Defendants.

        THIS MATTER having been opened to the Court by Marzec Law Firm, PC, counsel for

 the Plaintiff, Maciej Gorski (“Plaintiff’), and Salka Law LLC counsel for Defendants, NJ NEC,

 INC., and Dariusz Czyzewski (collectively “Defendants”), seeking an order granting the Motion

 for Approval of Parties’ Settlement And For Dismissal Of Action With Prejudice, and the Court

 having considered the matter and finding that:

            I.    Plaintiff commenced this individual action under the Fair Labor Standards Act

 (“FLSA”) and comparable New Jersey laws on February 17, 2017.

        2.        Plaintiff and Defendants have reached a negotiated resolution of the above lawsuit

 with respect to the claims of Plaintiff The Parties were represented by counsel throughout the

 settlement negotiations.

        3.        Plaintiff and Defendants have agreed upon settlement terms and memorialized

 those terms in a Settlement Agreement and General Release;

        IT IS, on this       y of February, 2018, HEREBY ORDERED that:

        I.        This Court confirms its approval of the Parties’ settlement;
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        2.     This Court retains jurisdiction over this case until all payments are rendered in

 accordance with the Settlement Agreement, and upon which Plaintiff’s             will be hereby

 dismissed with prejudice as to Defendants.
